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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                      Plaintiff,

          v.                                  CRIMINAL NO. 1:17CR32-29
                                                   (Judge Keeley)

  MARJORIE SUE WEBSTER,

                      Defendant.

        ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
          CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 817),
         ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

          On January 4, 2017, the defendant, Marjorie Sue Webster

  (“Webster”), appeared before United States Magistrate Judge Michael

  J. Aloi and moved for permission to enter a plea of GUILTY to Count

  120    of    the   Superseding    Indictment.     Webster   stated   that   she

  understood that the magistrate judge is not a United States

  district judge, and consented to pleading before the magistrate

  judge.       This Court had referred the guilty plea to the magistrate

  judge for the purposes of administering the allocution pursuant to

  Federal Rule of Criminal Procedure 11, making a finding as to

  whether      the   plea   was   knowingly   and   voluntarily   entered,    and

  recommending to this Court whether the plea should be accepted.

          Based upon Webster’s statements during the plea hearing and

  the government’s proffer establishing that an independent factual

  basis for the plea existed, the magistrate judge found that Webster

  was competent to enter a plea, that the plea was freely and
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  voluntarily given, that she was aware of the nature of the charges

  against her and the consequences of her plea, and that a factual

  basis existed for the tendered plea. The magistrate judge entered

  an Report and Recommendation Concerning Plea of Guilty in Felony

  Case (“R&R”) (dkt. no. 817) finding a factual basis for the plea

  and recommended that this Court accept Webster’s plea of guilty to

  Count 120 of the Superseding Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Webster’s guilty plea, and ADJUGES her GUILTY of the crime

  charged in Count 120 of the Superseding Indictment.

        Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



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        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 817),
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        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

        1.    The Probation Officer shall undertake a presentence

  investigation of Webster, and prepare a presentence report for the

  Court;

        2.    The Government and Webster shall provide their versions

  of the offense to the probation officer by January 29, 2018;

        3.    The presentence report shall be disclosed to Webster,

  defense counsel, and the United States on or before March 29, 2018;

  however, the Probation Officer shall not disclose any sentencing

  recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

        4.    Counsel may file written objections to the presentence

  report on or before April 12, 2018;

        5.    The Office of Probation shall submit the presentence

  report with addendum to the Court on or before April 26, 2018; and

        6.    Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the

  factual basis from the statements or motions, on or before April

  26, 2018.




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        The magistrate judge remanded Webster to the custody of the

  United States Marshal Service.

        The   Court   will   conduct    the   sentencing    hearing      for   the

  defendant    on   Thursday,   May    10,    2018   at   10:30   A.M.   at    the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: January 19, 2018


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




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